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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA


 ROBERT EARL COUNCIL AKA KINETIK                       Case No. 2:23-cv-00712-ECM-JTA
 JUSTICE, et al,,

                    Plaintiffs,                        PLAINTIFFS MOORE, COLE,
                                                       MCDOLE, CAMPBELL, PTOMEY,
        v.                                             AND ENGLISH’S NOTICE OF
                                                       MOTION AND MOTION FOR
 KAY IVEY, et al.,                                     PRELIMINARY INJUNCTION AND
                                                       PROVISIONAL CLASS
                    Defendants.                        CERTIFICATION




TO THE CLERK OF THE COURT, DEFENDANTS KAY IVEY, STEVE MARSHALL,
LEIGH GWATHNEY, DARRYL LITTLETON, AND GABRELLE SIMMONS, AND
ALL PARTIES AND COUNSEL:

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 65,

Plaintiffs Lee Edward Moore Jr., Jerame Aprentice Cole, Frederick Denard McDole, Michael

Campbell, Arthur Charles Ptomey Jr., and Alimireo English, on their own behalf and on behalf

of a class and subclass of similarly situated people, will and hereby do move this Court for an

Order granting a preliminary injunction to restrain and enjoin Defendants Governor Kay Ivey,

Attorney General Steve Marshall, Alabama Board of Pardons and Paroles (“Parole Board”)

Chair Leigh Gwathney, and Associate Parole Board members Darryl Littleton and Gabrelle

Simmons, in their official capacities, and their officers, agents, subordinates, employees, and

attorneys, and those persons in active concert or participation with them, from violating the Ex

Post Facto and Equal Protection Clauses of the U.S. Constitution in their administration of the

parole system. Plaintiffs seek an order providing preliminary injunctive relief necessary to

mitigate the irreparable harms caused by these constitutional violations, including by:




    PLS.’ NOTICE OF MOT. AND MOT. FOR PRELIM. INJ. & PROVISIONAL CLASS CERTIFICATION
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   1. Prohibiting Defendants Ivey and Marshall from instructing their agents and Defendant

       Parole Board members (a) to ensure that individuals who have been sentenced to

       incarceration for offenses Alabama deems “violent” are not granted parole, and (b) to

       disregard the actuarially- and evidence-based risk assessments for considering parole

       applications mandated by Alabama law.

   2. Prohibiting Defendants Gwathney, Littleton, and Simmons from issuing parole decisions

       pursuant to a process that deviates from the pre-October 1, 2019 status quo and requiring

       Defendants Gwathney, Littleton, and Simmons to revert immediately to the parole

       guidelines and practices in place prior to October 1, 2019;

   3. Requiring Defendants Gwathney, Littleton, and Simmons to remedy the unlawful parole

       denials and extended reconsideration periods rendered since October 1, 2019.

       Plaintiffs further seek an order provisionally certifying: (a) the Parole Denial Class

consisting of all incarcerated persons within ADOC’s custody and housed within correctional

facilities owned and operated by ADOC who were denied parole while in the custody of ADOC

at any time after October 1, 2019; and (b) the Discriminatory Parole Denial Subclass consisting

of all Black members of the Parole Denial Class.

       This motion is based upon this Notice of Motion and Motion; the accompanying

Memorandum in Support of Plaintiffs’ Motion for Preliminary Injunction; the Declarations of

Mr. Moore, Mr. Cole, Mr. McDole, Mr. Campbell, Mr. Ptomey, Mr. English, Lyn Head, Lacey

Keller, Amanda C. Lynch, Barbara J. Chisholm, Janet Herold, and Lauren Faraino; the Request

for Judicial Notice submitted herewith; the complete files and records of this action; and such

other argument or evidence as may be presented at or before the time of any hearing scheduled

by the Court.



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Dated: December 21, 2023              Respectfully submitted,

                                      /s/ Barbara J. Chisholm


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